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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                       )
 AMERICAN OVERSIGHT,                   )
 1030 15th Street NW, B255             )
 Washington, DC 20005                  )
                                       )
                            Plaintiff, )
                                       )
 v.                                    )                 Case No. 18-2582
                                       )
 U.S. DEPARTMENT OF EDUCATION,         )
 400 Maryland Avenue SW                )
 Washington, DC 20202                  )
                                       )
                          Defendant. )
                                       )

                                          COMPLAINT

       1.       Plaintiff American Oversight brings this action against the U.S. Department of

Education under the Freedom of Information Act, 5 U.S.C. § 552 (FOIA), and the Declaratory

Judgment Act, 28 U.S.C. §§ 2201 and 2202, seeking declaratory and injunctive relief to compel

compliance with the requirements of FOIA.

                                 JURISDICTION AND VENUE

       2.       This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. §§ 1331, 2201, and 2202.

       3.       Venue is proper in this district pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C.

§ 1391(e).

       4.       Because Defendant has failed to comply with the applicable time-limit provisions

of the FOIA, American Oversight is deemed to have exhausted its administrative remedies

pursuant to 5 U.S.C. § 552(a)(6)(C)(i) and is now entitled to judicial action enjoining Defendant




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from continuing to withhold agency records and ordering the production of agency records

improperly withheld.

                                            PARTIES

       5.       Plaintiff American Oversight is a nonpartisan, non-profit section 501(c)(3)

organization primarily engaged in disseminating information to the public. American Oversight

is committed to the promotion of transparency in government, the education of the public about

government activities, and ensuring the accountability of government officials. Through research

and FOIA requests, American Oversight uses the information it gathers, and its analysis of it, to

educate the public about the activities and operations of the federal government through reports,

published analyses, press releases, and other media. The organization is incorporated under the

laws of the District of Columbia.

       6.       Defendant U.S. Department of Education (Education) is a department of the

executive branch of the U.S. government headquartered in Washington, DC, and an agency of

the federal government within the meaning of 5 U.S.C. § 552(f)(1). Education has possession,

custody, and control of the records that American Oversight seeks.

                                    STATEMENT OF FACTS

                                    Decision Memoranda Request

       7.       On April 27, 2018, American Oversight submitted a FOIA request to Education,

seeking the following records:

                All decision memoranda, directives, policy interpretations, or policy
                guidance related to the borrower defense rule signed, approved, or
                otherwise adopted by any of the following:
                           • Secretary DeVos
                           • The Deputy Secretary
                           • The Under Secretary
                           • The Assistant Secretary for Postsecondary Education



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                           •   The Deputy Assistant Secretary for Higher
                               Education Programs
                           •   The Deputy Assistant Secretary for Policy, Planning,
                               and Innovation
                           •   The Assistant Secretary for Career, Technical, and
                               Adult Education
                           •   The General Counsel
                           •   The Deputy General Counsel for Postsecondary
                               Service
                           •   Any other political appointee, SES employee, or
                               person holding an administratively determined
                               position in the Office of the Secretary, the Office of
                               the Deputy Secretary, the Office of the Under
                               Secretary, the Office of the Assistant Secretary for
                               Postsecondary Education, the Office of Higher
                               Education Programs, the Office of Policy, Planning,
                               and Innovation, the Office of Career, Technical,
                               and Adult Education, or the Office of the
                               General Counsel.

                Please provide all responsive records from January 20, 2017, to the
                date the search is conducted.

       8.       Education assigned the request tracking number 18-01727-F.

       9.       American Oversight has received no further communication from Education

regarding the processing of its FOIA request.

                               Presidential Communications Request

       10.      On April 27, 2018, American Oversight submitted a FOIA request to Education,

seeking the following records:

             1) All communications regarding the borrower defense rule between
                any of the individuals listed below and anyone in the Executive
                Office of the President (including anyone using an eop.gov email
                address)

                       •   Secretary DeVos
                       •   The Deputy Secretary
                       •   The Under Secretary
                       •   The Assistant Secretary for Postsecondary Education
                       •   The Deputy Assistant Secretary for Higher Education
                           Programs


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            •   The Deputy Assistant Secretary for Policy, Planning, and
                Innovation
            •   The Assistant Secretary for Career, Technical, and Adult
                Education
            •   The General Counsel
            •   The Deputy General Counsel for Postsecondary Service
            •   Any other political appointee, SES employee, or person
                holding an administratively determined position in the
                Office of the Secretary, the Office of the Deputy
                Secretary, the Office of the Under Secretary, the Office
                of the Assistant Secretary for Postsecondary Education,
                the Office of Higher Education Programs, the Office of
                Policy, Planning, and Innovation, the Office of Career,
                Technical, and Adult Education, or the Office of the
                General Counsel
            •   Anyone acting on behalf of any of the individuals listed
                above, such as administrative assistants or chiefs of staff

 2) All calendar entries for the individuals listed below that relate to the
    borrower defense rule and include any individual from the
    Executive Office of the President (including anyone using an
    eop.gov email address) as an invitee or participant.

            •   Secretary DeVos
            •   The Deputy Secretary
            •   The Under Secretary
            •   The Assistant Secretary for Postsecondary Education
            •   The Deputy Assistant Secretary for Higher Education
                Programs
            •   The Deputy Assistant Secretary for Policy, Planning, and
                Innovation
            •   The Assistant Secretary for Career, Technical, and Adult
                Education
            •   The General Counsel
            •   The Deputy General Counsel for Postsecondary Service
            •   Any other political appointee, SES employee, or person
                holding an administratively determined position in the
                Office of the Secretary, the Office of the Deputy
                Secretary, the Office of the Under Secretary, the Office
                of the Assistant Secretary for Postsecondary Education,
                the Office of Higher Education Programs, the Office of
                Policy, Planning, and Innovation, the Office of Career,
                Technical, and Adult Education, or the Office of the
                General Counsel




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                        •   Anyone acting on behalf of any of the individuals listed
                            above, such as administrative assistants or chiefs of staff

                For calendar entries created in Outlook or similar programs, the
                documents should be produced in “memo” form to include all
                invitees, any notes, and all attachments. Please do not limit your
                search to Outlook calendars—we request the production of any
                calendar—paper or electronic, whether on government-issued or
                personal devices—used to track or coordinate how these individuals
                allocate their time on agency business.

                Please provide all responsive records from January 20, 2017, to the
                date the search is conducted.

       11.      Education assigned the request tracking number 18-01730-F.

       12.      American Oversight has received no further communication from Education

regarding the processing of its FOIA request.

                              Congressional Communications Request

       13.      On April 27, 2018, American Oversight submitted a FOIA request to Education,

seeking the following records:

             1) All communications regarding the borrower defense rule between any of the
                individuals listed below and any member of Congress or members of
                congressional staff (including anyone using an email address ending in senate.gov
                or mail.house.gov)

                        •   Secretary DeVos
                        •   The Deputy Secretary
                        •   The Under Secretary
                        •   The Assistant Secretary for Postsecondary Education
                        •   The Deputy Assistant Secretary for Higher Education Programs
                        •   The Deputy Assistant Secretary for Policy, Planning, and Innovation
                        •   The Assistant Secretary for Career, Technical, and Adult Education
                        •   The General Counsel
                        •   The Deputy General Counsel for Postsecondary Service
                        •   Any other political appointee, SES employee, or person holding an
                            administratively determined position in the Office of the Secretary, the
                            Office of the Deputy Secretary, the Office of the Under Secretary, the
                            Office of the Assistant Secretary for Postsecondary Education, the
                            Office of Higher Education Programs, the Office of Policy, Planning,



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                            and Innovation, the Office of Career, Technical, and Adult Education,
                            or the Office of the General Counsel
                        •   Anyone acting on behalf of any of the individuals listed above, such as
                            administrative assistants or chiefs of staff

             2) All calendar entries for the individuals listed below that relate to the borrower
                defense rule and include any member of Congress or congressional staff
                (including anyone using an email address ending in senate.gov or mail.house.gov)
                as an invitee or participant.

                        •   Secretary DeVos
                        •   The Deputy Secretary
                        •   The Under Secretary
                        •   The Assistant Secretary for Postsecondary Education
                        •   The Deputy Assistant Secretary for Higher Education Programs
                        •   The Deputy Assistant Secretary for Policy, Planning, and Innovation
                        •   The Assistant Secretary for Career, Technical, and Adult Education
                        •   The General Counsel
                        •   The Deputy General Counsel for Postsecondary Service
                        •   Any other political appointee, SES employee, or person holding an
                            administratively determined position in the Office of the Secretary, the
                            Deputy Secretary, the Under Secretary, the Office of the Assistant
                            Secretary for Postsecondary Education, the Office of Higher Education
                            Programs, the Office of Policy, Planning, and Innovation, the Office
                            of Career, Technical, and Adult Education, or the Office of the
                            General Counsel
                        •   Anyone acting on behalf of any of the individuals listed above, such as
                            administrative assistants or chiefs of staff

                For calendar entries created in Outlook or similar programs, the documents should
                be produced in “memo” form to include all invitees, any notes, and all
                attachments. Please do not limit your search to Outlook calendars—we request the
                production of any calendar—paper or electronic, whether on government-issued
                or personal devices—used to track or coordinate how these individuals allocate
                their time on agency business.

                Please provide all responsive records from January 20, 2017, to the date the
                search is conducted.

       14.      Education assigned the request tracking number 18-01732-F.

       15.      On November 2, 2018, Education notified American Oversight that this request

had been forwarded “to the appropriate offices to search for documents that may be responsive to

[the] request: Office of the Under Secretary (OUS), Office of the Secretary (OS), Office of


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Postsecondary Education (OPE), Office of the General Counsel (OGC), Office of the Deputy

Secretary (ODS), and Office of Career, Technical & Adult Education (OCTAE).”

       16.      In the same letter, Education stated that the “Staff in ODS and OCTAE informed

the FOIA Services Center that after a thorough search of their files, they were unable to locate

any documents that were responsive to [the] request.”

       17.      American Oversight has received no other communication from Education

regarding the processing of its FOIA request.

                                   School Communications Request

       18.      On April 27, 2018, American Oversight submitted a FOIA request to Education,

seeking the following records:

             1) All communications related to the borrower defense rule between any of
                the individuals listed in Category A below and any individual or
                representative of an entity listed in Category B below.

             2) All calendar entries related to the borrower defense rule for any of the
                individuals listed in Category A below, if they also include any individual
                or representative of an entity listed in Category B below as an invitee
                or attendee:

                         Category A – Agency Officials             Category B – Outside Entities
                     •    Secretary DeVos                         • Adtalem Global Education
                     •    The Deputy Secretary                      (adlatem.com)
                     •    The Under Secretary                            o Lisa Wardell
                     •    The Assistant Secretary for                    o Eric Dirst
                          Postsecondary Education                        o Robert Paul
                     •    The Deputy Assistant Secretary for             o Liza Sodeika
                          Higher Education Programs                      o Christopher Begley
                     •    The Deputy Assistant Secretary for             o DeVry University
                          Policy, Planning, and Innovation                  (devry.edu)
                     •    The Assistant Secretary for Career,            o Keller Graduate School of
                          Technical, and Adult Education                    Management (Keller.edu)
                                                                         o Ross University
                     •    The General Counsel
                                                                            (rossu.edu)
                     •    The Deputy General Counsel for
                                                                         o Carrington College
                          Postsecondary Service
                                                                            (carrington.edu)
                     •    any other political appointee or
                          SES employee in the Office of the


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        Category A – Agency Officials          Category B – Outside Entities
         Secretary, the Deputy Secretary,            o Chamberlain University
         the Under Secretary, the Office of              (chamberlain.edu)
         the Assistant Secretary for          • American Public Education
         Postsecondary Education, the            (americanpubliceducation.org)
         Office of Higher Education                  o Wallace Boston
         Programs, the Office of Policy,             o Richard Sunderland
         Planning, and Innovation, the               o Karan Powell
         Office of Career, Technical,                o Barbara Fast
         and Adult Education, or the Office          o American Military
         of the General Counsel                          University
       • Anyone acting on behalf of any                  (amu.apus.edu)
         of the individuals listed                   o American Public
         above, such as administrative                   University (apu.apus.edu)
         assistants or chiefs of staff        • Apollo Education Group
                                                 (apollo.edu)
                                                     o Anthony Miller
                                                     o Gregory Cappelli
                                                     o Mark Brenner
                                                     o Jeff Langenbach
                                                     o Peter Cohen
                                                     o Joan Blackwood
                                                     o Byron Jones
                                                     o Raghu Krishnaiah
                                                     o University of Phoenix
                                                         (phoenix.edu)
                                              • Bridgepoint Education
                                                 (bridgepointeducation.com)
                                                     o Andrew Clark
                                                     o Kevin Royal
                                                     o Tom McCarty
                                                     o Vickie Schray
                                                     o Ashford University
                                                         (ashford.edu)
                                                     o University of the Rockies
                                                         (rockies.edu)
                                              • Capella Education
                                                 (capellaeducation.com)
                                                     o J. Kevin Gilligan
                                                     o Steven Polacek
                                                     o Ricahrd Senese
                                                     o Andrew Watt
                                                     o David Smith
                                                     o Capella University
                                                         (capella.edu)



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         Category A – Agency Officials      Category B – Outside Entities
                                           • Career Education Corporation
                                              (careered.com)
                                                  o Todd Nelson
                                                  o Andrew Cederoth
                                                  o Andrew Hurst
                                                  o John Kline
                                                  o Colorado Technical
                                                      University
                                                      (coloradotech.edu)
                                                  o American
                                                      InterContinental
                                                      University (aiuniv.edu)
                                                  o Sanford-Brown
                                                      (sanfordbrown.org)
                                           • Education Affiliates (edaff.com)
                                                  o Duncan Anderson
                                                  o Stephen Budosh
                                           • Education Corporation of
                                              America (ecacolleges.com)
                                                  o Stu Reed
                                                  o Christopher Boehm
                                                  o Erin Shea
                                                  o Roger Swartzwelder
                                                  o John Woods
                                                  o John Schuman
                                                  o Dominic Fedele
                                                  o Virginia College (vc.edu)
                                                  o New England College of
                                                      Business (necb.edu)
                                           • Education Management
                                              Corporation (edmc.edu)
                                                  o Cynthia Baum
                                                  o Frank Jalufka
                                                  o Mark McEachen
                                                  o Art Institutes
                                                      (artinstitutes.edu)
                                                  o South University
                                                      (southunversity.edu)
                                                  o Argosy University
                                                      (argosy.edu)
                                           • Global University Systems
                                              (globaluniversitysystems.com)
                                                  o Aaron Etingen
                                                  o Maurits Van Rooijen
                                                  o Graeme Simpson


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         Category A – Agency Officials      Category B – Outside Entities
                                           • Grand Canyon University
                                              (gcu.edu)
                                                 o Brian Mueller
                                                 o Stan Meyer
                                                 o Dan Bachus
                                                 o Antoinette Farmer-
                                                     Thompson
                                           • Graham Holdings (ghco.com)
                                                 o Kaplan, Inc. (kaplan.com)
                                                 o Don Graham
                                                 o Andrew Rosen
                                                 o Matthew Seelye
                                                 o Gregory Marino
                                                 o Kaplan University
                                                     (kaplanuniversity.edu)
                                           • International Education
                                              Corporation (iecolleges.com)
                                                 o Fardad Fateri
                                                 o Shoukry Tiab
                                                 o Sanjay Sardana
                                                 o Mara Schteinschraber
                                                 o Darcy Dauderis
                                                 o Nader Timsah
                                                 o Doug Min
                                                 o Aaron Mortensen
                                                 o UEI College (uei.edu)
                                                 o Florida Career College
                                                     (floridacareercollege.edu)
                                                 o U.S. Colleges
                                                     (uscmed.com)
                                           • Laureate Education, Inc. or
                                              Laureate International
                                              Universities (laureate.net)
                                                 o Douglas Becker
                                                 o Eilif Serck-Hanssen
                                                 o Jonathan Kaplan
                                                 o Paul Lussow
                                                 o Ryan Bartelmay
                                                 o Michael Coatrieux
                                                 o Jen Briar
                                                 o Lee McGee
                                                 o Marvin Malecha
                                                 o Vivian Sanchez
                                                 o Leonard Zegarski
                                                 o Christine Guevara


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         Category A – Agency Officials      Category B – Outside Entities
                                                  o Susan Fairbairn
                                                  o Bonnie Copeland
                                                  o Eric Riedel
                                                  o Kendall College
                                                      (kendall.edu)
                                                  o NewSchool of
                                                      Architecture
                                                      (newschoolarch.edu)
                                                  o Santa Fe University of
                                                      Art and Design
                                                      (santafeuniversity.edu)
                                                  o Walden University
                                                      (waldenu.edu)
                                           • Lincoln Group of Schools or
                                              Lincoln Educational Services
                                              Corporation
                                              (lincolneducationalservices.com)
                                                  o Scott Shaw
                                                  o J. Barry Morrow
                                                  o Brian Meyers
                                                  o Ami Bhandari
                                                  o Peter Tahinos
                                                  o Lincoln Tech
                                                      (lincolntech.edu)
                                                          § Lincoln Technical
                                                              Institute
                                                          § Lincoln College of
                                                              Technology
                                                          § Euphoria Institute
                                                  o Lincoln College of New
                                                      England
                                                      (lincolncollegene.edu)
                                           • Linden Education Partners or
                                              Boutique Universities
                                              Consortium
                                              (lindeneducationpartners.com)
                                                  o Oksana Malysheva
                                                  o Josef Merrill
                                                  o Rosanna DePinto
                                                  o United States University
                                                      (usuniversity.edu)
                                                  o University of the Potomac
                                                      (potomac.edu)
                                                  o Brookline College
                                                      (brooklinecollege.edu)


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         Category A – Agency Officials      Category B – Outside Entities
                                           • Premier Education Group
                                              (premiereducationgroup.com)
                                                  o Gary Camp
                                                  o Nick Hastain
                                                  o American College for
                                                      Medical Careers
                                                      (acmc.edu)
                                                  o Branford Hall Career
                                                      Institute
                                                      (branfordhall.edu)
                                                  o Harris Casel University
                                                      (harriscasel.com)
                                                  o Harris School of Business
                                                      (harrisschool.edu)
                                                  o Salter College
                                                      (saltercollege.com)
                                                  o Salter School
                                                      (salterschool.com)
                                                  o Salter School of Nursing
                                                      (salternursing.com)
                                                  o Seacoast Career Schools
                                                      (seacoastcareerschools.ed
                                                      u)
                                           • Quad Partners
                                              (quadpartners.com)
                                                  o Lincoln Frank
                                                  o Daniel Neuwirth
                                                  o Russell Dritz
                                                  o James Tieng
                                                  o Connor O’Keefe
                                                  o Lauren Klein
                                                  o Linda Diaz
                                                  o Basil Katsamakis
                                                  o Malcolm Youngren
                                                  o William Bernard
                                                  o Beckfield College
                                                      (beckfield.edu)
                                                  o Blue Cliff College
                                                      (bluecliffcollege.com)
                                                  o Dorsey (dorsey.edu)
                                                  o Endeavor Schools
                                                      (endeavorschools.com)
                                           • Strayer Education Inc.
                                              (strayereducation.com)
                                                  o Robert Silberman


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                     Category A – Agency Officials               Category B – Outside Entities
                                                                       o Karl McDonnell
                                                                       o Daniel Jackson
                                                                       o Strayer University
                                                                           (strayer.edu)
                                                                • Universal Technical Institute
                                                                   (uit.edu)
                                                                       o Kimberly (Kim) Waters
                                                                       o Bryce Peterson
                                                                       o Chad Freed
                                                                       o Sherrell Smith
                                                                       o Piper Jameson
                                                                       o Rhonda Turner
                                                                • Zenith Education Group
                                                                   (zenith.org)
                                                                       o Peter Taylor
                                                                       o Mary Ostrye
                                                                       o Todd Allard
                                                                       o Jim Gilbertson
                                                                       o Karen Turner
                                                                       o Altierus (altierus.org)
                                                                       o Wyotech (wyotech.edu)
                                                                       o Everest
                                                                           (everestonline.edu)
                                                                • Vatterott College (vatterott.edu)

              For both requests, the search should include individuals and entities in
              Category B both as keyword search terms and as entries in the
              to/from/cc/bcc fields of emails or calendar entries/invitations.

              Please provide all responsive records from January 20, 2017, to the date the
              search is conducted.

       19.    Education assigned the request tracking number 18-01734-F.

       20.    American Oversight has received no further communication from Education

regarding the processing of its FOIA request.

                                 Lobbying Communications Request

       21.    On April 27, 2018, American Oversight submitted a FOIA request to Education,

seeking the following records:




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 1) All communications related to the borrower defense rule between any of the
    individuals listed in Category A below and any individual or representative
    of an entity listed in Category B below.

 2) All calendar entries related to the borrower defense rule for any of the
    individuals listed in Category A below, if they also include any individual
    or representative of an entity listed in Category B below as an invitee
    or attendee:

        Category A – Agency Officials             Category B – Outside Groups
       • Secretary DeVos                         • Career Education Colleges and
       • The Deputy Secretary                      Universities (career.org)
       • The Under Secretary                     • Steve Gunderson
       • The Assistant Secretary for             • Dentons US (dentons.com)
          Postsecondary Education                • MoeVela LLC (moevela.com)
       • The Deputy Assistant Secretary          • Thompson Coburn LLP
          for Higher Education Programs            (thompsoncorburn.com)
       • The Deputy Assistant Secretary          • Brownstein Hyatt Farber
          for Policy, Planning, and                Schreck LLP (bhfs.com)
          Innovation                             • Crossroads Strategies
       • The Assistant Secretary for               (crshq.com)
          Career, Technical, and Adult           • Penn Hill Group
          Education                                (pennhillgroup.com)
       • The General Counsel                     • Subject Matter
       • The Deputy General Counsel                (teamsubjectmatter.com)
          for Postsecondary Service              • Signal Group
       • Any other political appointee or          (signalgroupdc.com)
          SES employee in the Office of          • Podesta Group (Podesta.com)
          the Secretary, the Deputy              • Henry Bonilla
          Secretary, the Under Secretary,        • Center for Excellence in Higher
          the Office of the Assistant              Education (cehe.org)
          Secretary for Postsecondary            • Carl Barney
          Education, the Office of Higher        • Eric Juhlin
          Education Programs, the Office         • Barnes Thornburg (btlaw.com)
          of Policy, Planning, and               • Mercury (mercuryllc.com)
          Innovation, the Office
                                                 • Heritage Foundation
          of Career, Technical,
                                                   (heritage.org)
          and Adult Education, or the
          Office of the General Counsel          • Heritage Action for America
                                                   (heritageaction.com)
       • Anyone acting on behalf of any
          of the individuals listed              • U.S. Chamber of Commerce
          above, such as administrative            (uschamber.org)
          assistants or chiefs of staff          • American Enterprise Institute
                                                   (aei.org)
                                                 • American Action Network
                                                   (americanactionnetwork.org)


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                    Category A – Agency Officials             Category B – Outside Groups
                                                             • Hoover Institution (hoover.org)
                                                             • Cato Institute (cato.org)
                                                             • American Legislative Exchange
                                                               Council (ALEC) (alec.org)

                For both requests, the search should include individuals and entities in
                Category B both as keyword search terms and as entries in the
                to/from/cc/bcc fields of emails or calendar entries/invitations.

                Please provide all responsive records from January 20, 2017, to the date the
                search is conducted.

       22.      Education assigned the request tracking number 18-01737-F.

       23.      American Oversight has received no further communication from Education

regarding the processing of its FOIA request.

                          Financial Responsibility Subcommittee Request

       24.      On April 27, 2018, American Oversight submitted a FOIA request to Education,

seeking the following records:

             1) All materials prepared for Financial Responsibility Subcommittee
                meetings, including all documents circulated to subcommittee members in
                advance of or at subcommittee meetings.

             2) All records reflecting agendas, attendees, minutes, or notes related to any
                Financial Responsibility Subcommittee meeting.

             3) All records reflecting other communications (including emails, email
                attachments, text messages, messages on messaging platforms (such as
                Slack, GChat or Google Hangouts, Lync, Skype, or WhatsApp), telephone
                call logs, calendar entries/invitations, talking points, any handwritten or
                electronic notes taken during any oral communications, summaries of any
                oral communications, or other materials) between John Kolotos or any other
                employee of the Department of Education and any member of the Financial
                Responsibility Subcommittee, namely:
                        • John Palmucci
                        • Jonathan Tarnow
                        • Julianne Malveaux
                        • Dale Larson
                        • Dawnelle Robinson
                        • Susan Menditto


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                        •   Ronald Salluzzo
                        •   Jeffrey Mechanick

             4) All records of nominations received for membership in the Financial
                Responsibility Subcommittee.

             5) All records reflecting communications including emails, email attachments,
                text messages, messages on messaging platforms (such as Slack, GChat or
                Google Hangouts, Lync, Skype, or WhatsApp), telephone call logs,
                calendar entries/invitations, talking points, any handwritten or electronic
                notes taken during any oral communications, summaries of any oral
                communications, or other materials) regarding the nomination of any person
                for membership on the Financial Responsibility Subcommittee between any
                official at the Department of Education and any person not using a .gov
                email address.

             6) All records reflecting guidance provided to members of the Financial
                Responsibility Subcommittee regarding the creation or preservation of
                federal records.

                Please provide all responsive records from August 30, 2017, to the date the
                search is conducted.

       25.      Education assigned the request tracking number 18-01739-F.

       26.      American Oversight has received no further communication from Education

regarding the processing of its FOIA request.

                              Exhaustion of Administrative Remedies

       27.      As of the date of this Complaint, Defendant has failed to (a) notify American

Oversight of a final determination regarding its FOIA requests, including the full scope of any

responsive records Defendant intends to produce or withhold and the reasons for any

withholdings; or (b) produce the requested records or demonstrate that the requested records are

lawfully exempt from production.

       28.      Through Defendant’s failure to respond to American Oversight’s FOIA requests

within the time period required by law, American Oversight has constructively exhausted its

administrative remedies and seeks immediate judicial review.


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                                         COUNT I
                             Violation of FOIA, 5 U.S.C. § 552
                Failure to Conduct Adequate Search for Responsive Records

        29.    American Oversight repeats the allegations in the foregoing paragraphs and

incorporates them as though fully set forth herein.

        30.    American Oversight properly requested records within the possession, custody,

and control of Defendant.

        31.    Defendant is an agency subject to FOIA and must therefore make reasonable

efforts to search for requested records.

        32.    Defendant has failed to promptly review agency records for the purpose of

locating those records that are responsive to American Oversight’s requests.

        33.    Defendant’s failure to conduct an adequate search for responsive records violates

FOIA.

        34.    Plaintiff American Oversight is therefore entitled to injunctive and declaratory

relief requiring Defendant to promptly make reasonable efforts to search for records responsive

to American Oversight’s FOIA requests.

                                       COUNT II
                           Violation of FOIA, 5 U.S.C. § 552
                 Wrongful Withholding of Non-Exempt Responsive Records

        35.    American Oversight repeats the allegations in the foregoing paragraphs and

incorporates them as though fully set forth herein.

        36.    American Oversight properly requested records within the possession, custody,

and control of Defendant.




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       37.      Defendant is an agency subject to FOIA and must therefore release in response to

FOIA requests any non-exempt records and provide a lawful reason for withholding any

materials.

       38.      Defendant is wrongfully withholding non-exempt agency records requested by

American Oversight by failing to produce non-exempt records responsive to its FOIA requests.

       39.      Defendant is wrongfully withholding non-exempt agency records requested by

American Oversight by failing to segregate exempt information in otherwise non-exempt records

responsive to American Oversight’s FOIA requests.

       40.      Defendant’s failure to provide all non-exempt responsive records violates FOIA.

       41.      Plaintiff American Oversight is therefore entitled to injunctive and declaratory

relief requiring Defendant to promptly produce all non-exempt records responsive to its FOIA

requests and provide indexes justifying the withholding of any responsive records withheld under

claim of exemption.

                                     REQUESTED RELIEF

WHEREFORE, American Oversight respectfully requests the Court to:

       (1) Order Defendant to conduct a search or searches reasonably calculated to uncover all

             records responsive to American Oversight’s FOIA requests;

       (2) Order Defendant to produce, within twenty days of the Court’s order, or by such other

             date as the Court deems appropriate, any and all non-exempt records responsive to

             American Oversight’s FOIA requests and indexes justifying the withholding of any

             responsive records withheld under claim of exemption;

       (3) Enjoin Defendant from continuing to withhold any and all non-exempt records

             responsive to American Oversight’s FOIA requests;




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      (4) Award American Oversight the costs of this proceeding, including reasonable

         attorneys’ fees and other litigation costs reasonably incurred in this action, pursuant

         to 5 U.S.C. § 552(a)(4)(E); and

      (5) Grant American Oversight such other relief as the Court deems just and proper.



Dated: November 9, 2018                            Respectfully submitted,

                                                   /s/ Hart W. Wood
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                                                   Elizabeth France
                                                   D.C. Bar No. 999851
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